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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATE OF AMERICA,


                                                         Civil Action 2:17-cr-54 (3)
                                                         Judge James L. Graham
       v.                                                Magistrate Judge Chelsey M. Vascura


CHARLEE MITCHELL,




                                             ORDER

       This matter came before the Court for a bond revocation hearing on November 9, 2017.

As the record in this case reveals, Defendant Charlee Mitchell appeared before the Court for her

initial appearance on April 14, 2017, and was released on her own recognizance under Pretrial

Services supervision with various conditions of release, including that she refrain from committing

any federal, state, or local law while on release. (ECF No. 6.) On November 2, 2017, the

Government filed a Motion to Revoke Defendant’s bond, alleging that Defendant has violated

federal law while on release. (ECF No. 109.) For the reasons that follow, the Government’s

Motion is GRANTED.

       Pursuant to 18 U.S.C. § 3148, a person who has been released on bond under 18 U.S.C. §

3142 and has violated a condition of his or her release is subject to having bond revoked. Section

3148(b) provides as follows:

       The judicial officer shall enter an order of revocation and detention if, after a
       hearing, the judicial officer–

       (1)     finds that there is--
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                   (A)     probable cause to believe that the person has committed a Federal,
                           State, or local crime while on release; or

                   (B)     clear and convincing evidence that the person has violated any other
                           condition of release; and

       (2)         finds that--

             (A)           based on the factors set forth in section 3142(g) of this title, there is no
                           condition or combination of conditions of release that will assure that the
                           person will not flee or pose a danger to the safety of any other person or the
                           community; or

             (B)          the person is unlikely to abide by any condition or combination of
                           conditions of release.

       If there is probable cause to believe that, while on release, the person committed a Federal,
       State, or local felony, a rebuttable presumption arises that no condition or combination of
       conditions will assure that the person will not pose a danger to the safety of any other
       person or the community. . . .

18 U.S.C. § 3148(b).

       The evidence adduced at the revocation hearing establishes probable cause that Defendant

Mitchell committed a federal crime. Consequently, there is a rebuttable presumption that no

condition or set of conditions will ensure the safety of the community. 18 U.S.C. §

3148(b)(2)(B). Defendant did not overcome this presumption. Moreover, because the evidence

establishes that Defendant continued the illegal, fraudulent scheme for which she was already

indicted, she is unlikely “to abide by any condition or combination of conditions of release” should

her bail not be revoked. Id. Under these circumstances, revocation of Defendant’s release is

warranted.

       IT IS THEREFORE ORDERED that the bond previously set in this matter is

REVOKED and that Defendant Mitchell is ORDERED DETAINED until further Order of this


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Court.

         IT IS SO ORDERED.


                                             /s/ Chelsey M. Vascura
                                            CHELSEY M. VASCURA
                                            UNITED STATES MAGISTRATE JUDGE




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